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                                THE WHITE HOUSE
                                     WASHINGTON



                                    October 5, 199.7


           MR~ENT•
            This is a decision memo on climate change. I am forw~rding it
            to you now because you may want to look it over before the .
          . White House Conference on Monday.· However, you should
            under no circumstances actually c!teck off a decision before
            t!te White House Omference is held, since thai Conference is
            intended to he a forum thai is still able to inform your policy ·
            thinking. In addition, since the memo was just finished late ·
           tonight, other relevant White·House staff,· like Erskine, Rahm, ·
           John Podesta and John Hilley, haven't had a chance to comment
           on it yet. I also expect that you may want to have one more
    . 1    meeting on this subject before reaching a final decision.      . .
•         ·Be(;4use of the late hour at which it was finished, and the fact
      / ' ~hat it is not yet ripe for decision, Phil hasn't done a summary of .
    .·     It yet.          .




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                                                  THE WHITE HOUSE                                            to -G-47
                                                        WASHINGTON




                ·          ·.   ·        ~       . '\   October 4, 1997

         MEMORANDUM FOR THE                   ~IDENT .                    '~                        .
                                                                          . 1J ()
         FROM:                      GENE SPERLING
                                    KATHLEEN McGIN1Y
                                                                     -Ji: (~(           ~.          ....
                                    DANIELTARULLO                     \)~,f'\ ~' .
                                    . JIM STEINBERG
                                      TODD STERN
                                                                              'v
                                                                                    .
                                                                                        '~ -(

         SUBJECT:·                  Climate Change Recommendations

                   Together with principals, ·we have worked hard over the past several weeks to put
          together option~ for you on climate change. As we note below, we h~ve reached consens~s in
          many areas -- such as our general stance towards developing countries, and a preliminary
        . package of policies that we could embrace independently ofthe international negotiations. But
          reflecting the magnitudes of the lradeoffs involved in this issue, we have not been able to reach
          full Cabinet consensus on some fundamental aspects of our policy stance. ·This memorandum
          therefore presents three different plans, with their supporters and their pros and cons.

                     The memorandum
                           .        is organized into four sections:
                                                                 .


        I.          Summary of difficulties we face
        II. .       Developing country policy
        III.        Common components of all three options ·
        IV.         The three options

        I. .SUMMARY OF DIFFICULTIES

                As we have emphasized in preVious memos and meetings, the complexity of the issue is
        reflected in fou·r different constraints:                                                   .

        •             Environmental. ·This issue is the premier environmental challenge of our generation. The
                    . environmental communicy is pushing for strong, early action to reduce greenhouse gas
.   ~
                      emissions.

        •           Diplomatic. Much of the world is calling for deep, early ~missions reductions. The
                    European Union is proposing I 0-15 percent cuts from 1990 emissions levels by 20 I 0;
                    Japan is proposing 0-5 percent cuts in the same period.             .                 ·




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          •      Economic. Costs are substantially higher the earlier emissions. reductions are required.
                 The cost of deep, early emissions reductions could be very large~

         .•      Business/Labor/Hill. Aggressive approaches would expose us to v._rell-financed
                 campaigns -:- by major corporations and labor unions -- that demagogue our policies as
                 excessively costly and as a large energy tax increase.

                   In essence, the three different plans represent different views about the importance of the
          .first two constraints relative to the second two constraints:

        · •      The first plan moves away from the 1990 target and substitutes a lower-cost approach for ·
                 achieving emissions reductions. This strategy emphasizes the third and fourth constraints.
                 by allowing a more gradual adjustment period.

          •      The second plan co~its the nation ~o 1990 by 2015 or 2020 -- while capping the
                 economic cost. It tries to address all four constraints, but could be viewed as riot meeting
                 any of them adequately.·

          •     'The third plan, which involves a commitment to 1990 levels by 20 I 0 or 2015 while
                 capping the cost at a higher level than under the second plan, emphasizes the importance
                ,of our environmental responsibilities and maXimizes our chances for (but does not in any
                ·way guarantee) a successful agreement at Kyoto.

          II. DEVELOPING COUNTRY POLICY

                   Given domestic political realities and the underlying environmental imperative, your
          advisers favor a tougher line on developing countries than we have taken to date. It is important
         .to emphasize that developing countries are unlikely to agree to even our current demands, let
          alone tougher ones, in the foreseeable future. Furthermore, we will get little (if any) support
          from other developed countries for our position: The position recommended by your advisers on
          this issue could very well endanger an agreement being signed this December in Kyoto .

               . In particular, your advisers favor pushing for a"Kyoto Mandate" this December. The
        ··mandate Would set the terms for a new round of negotiations with respect to:
                                                                             \


          •      Binding emissions targets for key developing countries (China, India, etc.); and

'-r,      •      A "graduation mechanism," under which countries automatically aSsume additional
'It~~ .          obligations as they develop.             ·

~V" ~"'Developing country targets would be less stringent than those for developed countries~ht
   ~,~~ts
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         · There is some disagreement among your advisers on exactly how to proceed as we seek
. greater commitments from developing countries.

 •       Under the "two-step approach," which is favored by the State Department, Energy ..
         Departmentand your environmental team, we would try to reach agreement among
         developed countries in Kyoto, but not seek to implement that agreement until
         negotiations with respect to developing country commitments are complete (several
         years, at a minimum). One possibility would be for you to issue an authoritative
         statement that we would not submit a treaty for ratification until the Kyoto Mandate was
         met. Another possibility would be to take a formal reservation to any agreement in
         Kyoto for the same purpose:

 •      Underthe "one-step approach,'~ which is favored-by some on the economicsteam, we .
        would decline to adopt an agreement in Kyoto, and not adopt any new agreement with
        respect to developed COuntry commitments until developing COUntry commitments are
        agreed as well. .

         The two-step approach offers the possibility of maintaining momentum in the
 international negotiation$ (although even this approach will provoke a negative reaction abroad
 and c"ould preclude an agreement in Kyoto). The cost is that we will have comrriitted to a target
 and timetable before we know what we'll get from developing countries. It is unclear how the
 Senate would reactto such a strategY.

         Our best approach may be to maintain some ambiguity about our precise intentions: to
 emphasize that we won't bring l?ack a treaty without real co.l111Iiitments from the developing
 countries. Since we don't know precisely how other countries will react to the one-step or two-
 step approach, it may be best to emphasize the generai point -- and to maintain some flexibility
 for our negotiators in Kyoto.

         Regardless ofour approach, however, demanding binding targets from key developing
 countries implies that we will not be ratifying any international climate agreement for at least
 several years. Furthermore, insisting on a Kyoto Mandate may produce an extremely negative
 reaction abroad, and that reaction could preclude anyagreement in Kyoto even under the two-
 step approach.

· ·III. COMMON COMPONENTS OF ALL THREE PLANS ···

        In addition to toughening our stance on developing countries, your advisers agree that the
 following policy components should form part of any plan on climat~ change:

 1. Tax cuts

        There is much interest in a Climate Change Tax Plan package of tax cuts in the near term

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                      to spur energy efficiency and lower-carbon technologies. But there are two critical questions
                     •about such a tax package: ·

                     •       An overall strategic question, give11. the budget agreement, is whether we want to offer tax
                             cuts in any area. A potential danger with proposing a Climate Change Tax Plan --         .
                             emphasized in particular by Secretary Rubin -- is that we could open up a bidding war
                             over tax cuts generally. If we decide to include tax cuts in our FY 1999 budget anyway,
                             this is clearly less of a problem.

                     •       A specific question, if we decide to offer a tax cut package, is how best to design the
                             package. Treasury is working with DOE, EPA, and other agencies to puttogether a
                             package oftax cuts amotinting to perhaps $1.5 billion per year. But accordint to Treasury.


···~:.&;.
                             staff,_ the options are unlikely to produce carbon reductions for less than $1 00 per ton.

          .   Ct·            Someofthe prelimin~ ideas include: tax subsidies to convert coal-fired power plants to
.     :       .      gas; extension of the existing tax incentive for wind a.D.d "closed loop'' biomass energy; tax
                     credits for purchases of "superstar" energy~efficient devices and fuel-efficient cars; investment
                     credits for en~rgy-effici~rit buildings; and an expanded research tax credit for energy-efficiency
                     research. The package will be further developed and refined over the next week. The goal is to
                     be prepared in case you want to announce the broad outlines of a tax cut plan when you
                     announce our overall policy package later this month.

                     2. Federal R&D effort

                              Your advisers support an aggressive Federal technology and R&D _effort, including an
                      additional $500 million per year starting in FY 1999 and ramping up to an additional $1 billion
                      by FY 2003. The Department ofEnergy's 5-Labs study, the Department of Energy's 11-Nation.
                      Labs draft study, and the recent report from the President's Committee of Advisors on Science
                      and Technology (PCAST) have all studied potential technologies that could help to reduce the
                    · cost of carbon emissions reductions.                            ·

                             The effort would focus on promising areas including:

                    •    ·   Energy efficient equipment (e.g., a public service campaign to attract attention to the
                             "Energy Star" label);

                    •        21st Century Housing (streamline federal, state, and local building and utility regulations
                             in ways that encourage innovation in construction);

                    •        Expanded Partnership for the Next Generation Vehicle (expand work on the next
                             generation vehicle technologies including fuel cells; and exp~d PNGV to include iight
                             trucks/sport-utility vehicles);


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                       .                                                .                                               .

                  •        . PNGV for Heavy Trucks (partnership Wi.th engine manufacturers to double the efficiency ·
                             of heavy-duty trucks for civilian and military applications);

                  •         Industries ofthe Future (enhance industry/government research partnerships in areas such
                            as chemicals, aluminum, forest products and steel manufacturing techllologies); and

                  •          Renewables R&D (expand research partnerships in key renewable technologies such as ·
                           . wind, photovoltaics, geothermal, biomass and hydropower to accelerate cost reductions).
      ·~···.                   . . . . . .                                  ··


                       . DOE and EPA believe that such a package could have a substantial effect on carbon
                      ssion~ by 2010. Others believe that the_packa~e will be ?eneficial, but that its results will
                       .manifest themselves over a longerpenod oftime.            :
              .                     -

              3. Federal procurement system

                 The federal government spends more than $7 billion per year on energy. While Federal
          energy consumption is a tiny fraction of the total U.S. energy consumption, we are still the ·.
    · • ination's single largest consume~ of ener. . Significant strides have already.. been rna.~e during the
   ~ pas eca e·~- energy consumptJ.on per square foot m federal buildmgs, for mstance, IS down by .
          15 percent.from the 1985 level, and eriergy use in federal vehicles (both civilian and military) is
      · _.down about 27 percent from 1985. We can still do rriore, for example by expanding the use of
,"Svc- · ,Energy Savings Performance Contracts, reinventing federal procurement, tak.!ng a "sustainable
~'f... design" approach to federal facilities, and developing more efficient military propulsion systems.
~~~~ (This effort could include a 6-12 month review of existing Executive Orders on purchases and a
~/' \directive to federal agencies to prepare greenhouse gas reductions plans.

             · 4. Industry out-reach

      "'v             Several industries have approached us recently to offer cooperation in reducing ·
              greenhouse gases. Steel, for example, believes it could reduce emissions 10 percent below 1990
              levels by 201 0 with a sectoral plan. The cement industry believes it can significantly reduce

                                          .                     .                                             .

                      Your advisers recOmmend that you ask leading industrial sectors to prepare greellhouse
              gas reduction plans over the next 6-12 months. these plans could help inforin our domestic
              implementation strategies, including the design of our domestic emissions trading program.
              It could also help build a constituency for aCtion among moderate business groups.

              5. 5-Year Science Reviews

      · \'v         ·Under the existing climate treaty, the Intergovernmental Panel on Climate Change is
              charged with reviewing the state of the science every five years'. Several corpor~te and
              Congressional leaders have suggested supplementing these reviews with additional studies by the

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                    National Academy of Sciences or your Committee of Advisors on Science and Technology ..
                                                                                                             ··~·.·
                    (PCAST), on a similar 5-year cycle.


                                                                    -
                    6. Emphasize long-term goal of stabilizing concentrations
                                       .                                                        '       '



                     The goal of the existing climate treaty is "to stabilize concentrations of greenho-use
             gases in the atmosphere at levels that avoid dangerous anthropogeriic interference with the
     ·       ~limate system." However, the Parties to the climate treaty have never defined precisely what
         ~~levels ~re dangerous: Support for_· a spe~i?c, long-term. ~oal would _be w~ll-received in both
     -~ ~ the busmess and envrronrnental commuruties. Many busmess constituencies have advocated -
     ~ focus on the long-term goal, to assist with planning. Environmental constituencies believe               ·
     . ·     such a focus would help educate the public. .            ..      -· .. ·         ·       · ·   . ·

                           Your advisers believe the United States should announce support for a specific, long-term
                      al. The task of defining the goal (e.g.; to keep concentrations of greenhouse gases from       ·.
                      ~ificantly exceeding ~ce pre-industrial levels, or roughly_ 55~ ppm) ~ould be ~signed to the.
                     at1onal Academy ofSc1enc~s as part of the first five-year screntific review mentiOned above.

                7. Global Environmental Facility.
                                                                         .                          .


 .              ·    . The United States is significarttly in arrears to the Global Environmental Facility, whi~h
 'A<~
 ..V>t).
            §·    sists developing countries in reduciiJg greenhouse gas emissions. (Of the $430 million pledged
                for FY93-FY97, we have been able to contribute roughly $185 million.) These arrears reduce
                    leverage with developing countries in negotiations under the climate treaty.
                                                    '                                .      '
                                                                                                                  ·.
                                            '              .                 -                                     '


            .           · Your advisers recommend you reemphasize your strong commitment to the Global
                       I.~onment FaCility and s~pport cleariri~_U.S. arrears at the earliest pract~cal_ da-te. ·
                       dmg for the Global Environment Facthty should be pursued as a top pnonty. ·
                         '         '




                8. Bilateral dialogues

                        We are pursuing bilateral dialogues with key developing countries (including China,
                Brazil .and India) to promote clean energy~ Often, interest in energy efficiency and renewable
                energy is greater in these settings than in the politicized, multilateral setting of the Climate
                Convention. Discussions focus on regulatory structures for clean energy development,.
                technical assistance, export credit and related items.

~·"v' upcomingYoutripor tomembers of your Cabinet will sign several agreements of this type during your
                           Latin America. Work is underway in' this area in connection with the Jiang
-~-             Zemin state visit later this month: Your advisers recommend that we pursue these dialogues
                 ith increased effort in the years ahead.



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       9. Other possibilities

                Other possible elements, which have not yet been full ve              e a renewable
        portfolio standard and other carbon-reducing policies · electricity deregulation National
      ·Environmental Policy Act (NEPA) guidance with respect o g ee                 . enuss10ns;
        common energy~fficiency guidelines for export credit agencies; a corporate greenhouse gas
       ·reporting system modeled after Toxic Release Inventory; and streamlined standards to improve
        energy efficiency, where appropriate .




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            IV. THREE OPTIONS
                                                      PACKAGE I

           OVERALL STRATEGY

        •        · . The lbng-term goal of the treaty is to stabilize concentrations of greenhouse gases in the
                     atmosphere at a level that will prevent dangerous anthropogenic interference with the·
                     climate system. This goal could be achieved with, concentrations at or somewhat above a
                     doubling of pre-industrial levels in the next one hundred years.

        •          The strategy here is to propose-the least-cost approach, both in terms.oftiming and
                   developing countries, to stabilizing concentrations over the long run. The logic is that
                   only by proceeding in this least-cost approach could we gefdomestic agreement to
                   undertake a serio~ climate change policy.                                    .

        TARGETS AND TIMETABLES

        •          Concentrations
                   .
                                  can
                                   .
                                      be stabilized .through the following targets and. timetables:
                                      .                                                          .


                          Reduce emissions growth in the United States in the near terin (for example,
                          growth from2000-2010 less than growth o-ver 1990~2000); then ·

                          Eliminate emissions growth in developed countries I 0 to 20 years after treaty is
                          signed (e.g., 20 I 0-2020); then

                          Reduce emissions levels in. developed countries gradually to reach -_ and thed to
                          decline below- 1990 levels in later years to be decided,- stabilizing
                          concentrations ..

       ..         This timetable begins effective action soon to establish Presidential leadership .

       •          The schedule of reducing emissions and emissions growth is determined by the degree of
                  ~co nomic cost that is ~cceptable~ coupled with the rate of improvement in emissions-
                  reduction technologies that results from increases in carbon prices.

       •          As in the second plan (see below), there would be periodic review of the underlying
                  sci~nce; the data on the path of emissions, and the economic impact, to allow for
                  adjustments in the policy .



· ·.
       .C   ·-
                        o~ ~e ~urrent
                   I. ns.ist            U.S: ~exibilit~ ~ositionsof international trading,~ultiple m~lti-year
                 _ targets, JOtnt ImplementatiOn (subsidies of non-carbon energy sources m developmg _
                   countries), banking, and borrowing.        .               ·            ·.    ·


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I·
          DEVELOPING COUNTRIES

          •      The goal is the least-cost global approach to stabilization of carbon concentrations in the
                 atmosphere.

          •     Negotiate and begin a new Kyoto Mandate, requiring developing country .participation (in ·
                stages), starting with more-advanced (Annex B) developing countries, with graduation as
                countries develop. Developing .countries commit to reduce the rate of growth of
                emissions consistent with stabilizing carbon concentrations and continued economic
                growth, with ceilings on costs.

      •         One-step: the U.S. will not initial agr~ement until Annex B countries have binding·
                commitments.

      DOMESTIC IMPLEMENTATION

     c•          Develop a tradable permits system, with auction of all permits (rather than
               · grandfathering), in the near term; impose the system at a level of emissions.near the
                 baseline (for example, with an implied permit price of perhaps $10 per ton). The system
                 could take effect while the Kyoto Mandate was negotiated, to empha5ize U.S. leadership·
                 and credibility; or it could be postponed until the treaty was ratified, as an incentive for
                 developing-country compliance. (A carbon tax, if feasible, would be an alternative
                 method of implementation)

      •         Change the number of permits in small, gradual, predetermined steps, based on economic
                cost and aggressive technological progress (with the implied permitprice rising to
                perhaps $22 per ton or more by 20 15). As in the second plan below, review domestic ·
                implementation system periodically.

      •          A portion of funds raised would be used for cost-effective technology research and
                 diffusion programs, including basic research. The bulk would be available for a range of
               . domestic priorities (tax relieffor individuals; business investment incentives; the solution
                 to the fiscal effects of the demographic imbalance; infrastructure; etc.) chosen to make
                 the program attractive.

      •         Begin a series of voluntary industry programs to develop-plans to meet the targets.

      •           Provide for banking and borrowing to deal with short-term fluctuations. Borrowed
              . . permits would be issued at a premiuin cost, and banked permits could be resold later at
                  higher prices.         .                  .                                           .

     ·•         Provide economic growth instirance or a cost cap on permits that would allow the sale of
              · additional permits. The price would be set consistent with our estimate of the acceptable

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            economic cost, and,wotiid be high enough to encourage emissions-efficient investment
            choices in the near term .. (If the cost cap were in effect over an extended period, the
          . target would not be met.)                                .

·•         These policies are market-oriented. Therewould be no inefficient, command-and~control
           regulations used to reduce emissions.

 •.        Include coinmon components listed above.

 SUPPORTERS

Larry Sllllimers, Janet Yellen, FrankRaines, Secretary Daley, and Secretary Herman.

PROS
                                         .                       .

•          The principal benefit of this approach is· that it reduces ~he cost of beginning :to address
           climate change by allowing more time for the economy to adjuSt gradually to the new
           constraints being placed on it.

•          Business and labor groups .would support this approach.

•         The approach would also be strongly supported by leading economists, such as William
          Nordhaus of Yale. It is consistent with the economics consensus on the least..:cost path to
          the environmental goal of stabilizing concentrations in the very long run.

CONS

•         This approach would be· completely unacceptable to the environmental and international
          corru::nunities. We could respond that if the emissions path it envisionsis met, it would
          stabilize concentrations and thll.s produce the same climate benefits as other paths that are
          substantially more ecOnomically costly ..

•         This option depends on steep -- and possibly implausible -- emissions reductions in
          distant decades to achieve our environmental goals.

•         It would be awkward to reconcile this approach with previous statements made by both -
          you and the Vice President. We could resporid that we are starting over with a new
          Kyoto Mandate, and that part of that mandate will be to achieve environmental goals
          through the least-cost approach.
                                                                          -                               .

•     -      ere is no chance of an international agreement in Kyoto or the near future with this
            oposal. But if an agreement is reached that incorporates this approach, it may be much
           asier to ratify. ·                     ·
                                                          .               .


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                                                                 PACKAGE2

                    OVERALL STRATEGY

                            Thi-s approach involves a hybrid plan that includes a commitment to reduce emissions to
                            1990 levels by 20 L5 or 2020 with a safety valve to cap economic costs .

                          . The approach begins with the tax cuts, R&D, and o~her initial steps in the common
                            comp_onents section above, before the permit system becomes effective.

                    ..      The safety valve would ensure that permit prices could never rise above some cdling, by
                            allowing the U.S. Government to sell an open-ended number of additional permits at that
                            pnce. This approach thus allows you to set an ambitious goal for the country while -
                            insuring that the costs are not excessive. But with a relatively low ceiling price,the
                          · overwhelming majority of economists will Claim that we·could not possibly avoid having
                           .to trigger the safety valve and thus fail to meet the stated goal of 1990 by 2015 or 2020.
                            Opponents could attack the approach as ·lacking in credibility.

                   TARGET AND TIMETABLE

                    •        _1990 by 2015 or   :1990 by 2020, with a safety valve{explained below). The purpose of
                              the safety valve is to allow us to adopt a relatively aggressive target and timetable, with
                         · ·. the understanding that we will only meet it if possible to do so at reasonable cost.

                    •       Ari issue that needs to be resolved is how the safety ·valve would be handled in the
                            international negotiations, if at all.

                    •       Additional reductions (to be determined) after 2015 or 2020.

                    •       Support international trading and joint implementation.

                    DEVELOPING COUNTRY
'.
I
I
     - ·: ..   :   ..       Kyoto Mandate for negotiations, with a goal for them to be completed by 1999.
                                                      '.


                    DOMESTIC IMPLEMENTATION

                    Initial actions

                    •       Common components plan. Emphasize tax cuts and R&D to build corporate support.

                    •      Emphasize commitment to market-o~iented policy tools .to reduce emissions .


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               •   A void decisions about grandfathering vs. audio~s. Instead appoint commission to
                   suggest structure of domestic emissions trading program --·auctioning with tax cuts, or ·
                   grandfathering with an excess profits tax.

                   --The commission would work Withindustry groups to evaluate their vision ofth~
                   trading system.

                   '--The commission would also study possible adjustment progranl.s for areas and sectors
                   that will bear a disproportionate burden from emissions reductions.

                   --One possibility would be to give the commission's .recommendations base-closing      .
                   legislative treatment, although there may be concerns about such a mechanism given the
                   scope and importance of the commission's work.

                   --Deadline for commission to report would be early 1999 or 12 months following treaty~
_.......
           Domestic emissions trading program (with safety valve) starts in 2005

                   ..:_Commission decides on structure of permit program.     .·

                   -- The permit requirements between 2005 and the first review in 2008 could be set
                   slightly below business-as-usual levels.

                   -"' Ceiling on permit price, as defined below, to cap economic costs

           Safety valve (ceiling on price) in permit trading system

                   -~The  tradeable permit system would include a safety valve: the U.S. government would
                   stand ready to sell a potentially Unlimited nlun.ber of permits at a given price, ensuring
                   that the permit price could not rise above that level. This safety valve is absolutely .
                   essential to the domestic viability ofthis approach.

                   --The pfice wotildstart at $10 per ton in 2005and rise in real terms by $1-$2 per year
                   (0.25-0.5 cents per gallon) until it reaches $30 per tori in 2015 or 2020 ..

                   -- If any funds are raised from the safety valve mechanism, they could be devoted to
                   further emissions reductions -- additional tax cuts for families, for carbon-reducing
                   investments by businesses or families, tax cuts for R&D, Federal investments in R&D or
                   energy-efficiency, 0(_ for investments in carbon-reducing efforts in other countries.

           5-Year review process               .                               .
                    .      .       .   '
                                                   .    .
                                                            .                                     . .
                               -           -        .

           •       The Clean Air Act requires EPA to undertake a regular 5-year review of ai.r quality

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          standards, and other statUtes require similar reviews. Similarly, ever}' five years, a
          commission -- which builds on the implementation commission above --would review
          progress on emissions reductions, and how the economy was responding. It would then
          make recommendations to the President and Congress about how to adjust the policy
          stance toward climate change.

•          lhe commission to report on domestic implementation (mentio~ed above) would be the
          .first of these commissions. The first report would thus occur iri 1999 or 12 months
           folloWing the treaty. The second report would be in 2004, and the third in 2009. The · ·
           third commission reportwould be able to evaluate the operation of the domestic perrhit
         . system after four years of experience (since the permit system Will begin in 2005).

SUPPORTERS
Gene Sperling and Katie McGintY constructed this compromise plan, as requested by Erskine.
They worked closely with Todd Stern in developing a package that the three of them support
with one· difference. Gene supports a 1990 by 2020 timetable, while Katie supports the .1990
by 2015'timetable~

.Gene feels that the 2020 date is important for three. reasons:

    1. It boosts the credibility of the relatively low price ceiling in the plan, by allowing more time .
    for the economy to adjust before the timetable binds and thus raising the probability that the
    safety valve would not have to be invoked;

    2. It attenuates corporate and union opposition to the plan; and

    3. It allows tis some room to bargain from at the international negotiations in- Kyoto and
    beyond.                                                               ,     .

    Katie feels that the 2015 date is important for three reasons:

1. Your announcement of any date after 2015 would pose unacceptable risks of immediately
cratering the Kyoto negotiations .

  . With any date lat~r th~ 2015, there is iittle or no chance that we will be able to convince .
the international comrimnity to accept other components of our position (e.g., joint
implementation, Annex I international trading, the safety valve, and our developing country
stance).

  3. A 2015 timetable offers at least some possibility of support from moderate environmental
. groups-- especially if we also commit to some reductions, even small ones, from 1990 levels
  by 2020.


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· . Secretary Pena and Secretary Slater both support the package .. Todd Stem supports it with a
    199Q by 2015 timetable.

   Dan Tarullo supports a hybrid of Package 1 and Package 2. As in Package 1, he supports starting
   the domestic implementation package immediately upon agreeing_ to a treaty, not in 2005. He
   also believes strongly iri auctioning permits or some other mechanism of raising revenue, rather
   than gra:ndfathering permits. But he believes that we can commit to 1990 levels by 2020, with
. the explicit acknowledgment that the uncertainties of technological development and diffusion,
 . as well as consumer.behavior. He favors a reassessment in 2007 to see if the targets and
   timetables need to be adjusted.
       .                                  .   .    .                                          .

  Your economic team urges that if you choose this option, you should chooseth.e 2020 timetable
  and emphasize that you will not use command-and-control regulations to avoid invoking the
                                         a
  safety valve. They would also urge careful analysisofthe best level for the trigger price.

  NOTES

           The ftnidamental strategy here is fo.ur-fold:

  •        First, we will focus our entire policy efforts up to 2005 on tax cuts, R&D efforts, Federal
           energy efficiency improvements, and the other components of the policy package listed in ·
           Section III of the memo.

  •        Second, the permit system would start in 2005 -- so that the debate over energy price .
           increases explicitly pertain only to 2005 and beyond .. At the same time, environmental
           groups will appreciate that the permit system begins within the next 10 years.

  •        Third, the plan puts a ceiling· on the permit pri~e to limit the economic downside and·
           stunt opposition attacks about the economic costs involved.

  •        Finally, the plan still gives the nation a goal of reaching 1990 emission levels by 2015 or
           2020 -- a goal that is subject to a cost cap, but is more bind,ing than the non-binding aim
           agreed ·at Rio.

          The main problem with this option is that ifmay be harshly criticized as promising more
  than the implementation plan can deliver~ Current models almost uniformly suggest that. we
  would not be able to meet our target and timetable at a price below $30 - i:e., that we could not
  avoid triggering the safety valve~ To put the point another way, this approach willlimitthe
 ·permit price to $10 to $30 per ton ($15 to $45 billion year), But economic models_ almost
  uniformly suggest that perinit prices would have to be substantially higher to achieve 1990.
  emissions levels iri 2015 or 2020. Therefore we could be attacked on our credibility-- that our
  plan did not contain enough restraint to meet its stated emissions reduction goal.


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               Those who support this option believe that the answer to the credibility argument is not a
I
       fight over economic models. Rather, they argue that in the face of incredible uncertainty over
       events twenty years away, it is best to put forward a sound-- even ifhighly optimistic_:._ plan for
       the nation. In particular, we should not unnecessarily impose economichardship\vhen
       technological breakthroughs, new scientific understandings or successful international trading
       could lower costs: If we take on the economic model debate directly, we Will almost certainly
       lose. The best tact is to emphasize the uncertainty, and to note that future administrations
     . and Congresses will assess new information every 5 years and make appropriate adjustments.
       We could get some outside validation for our emphasis on uncertainty from those who believe .
       that international trading is possible, from those who believe that economic models tend to
       exaggerate the costs of meeting environmental goals, and from those who believe that
       technological development and diffusion could respond strongly to even a limited price . signaL '     .
    · The safety valve idea could also receive outside validation: similar ideas have been embraced by ·
       Resources for the Future and Brookings, although they may not agree with our trigger price.

              Another key aspect of defending this plan is to emphasize that we are not supporting
      using command-and...:control measures if the ceiling price does not produce the full reductions
      needed to hit the emissions target. Specifically, wheri asked about whether setting an optimistic· ·
     .target with the ceiling price would mean that higher energy taxes or command-and-control
    .regulations in the future, we should state that we are against such measures and that we would
      assume that future Congresses would also oppose such measures. Without this guarantee,
     opponents may feel threatened instead of comforted by our reasonable ceiling. · Furthermore, we
     would point out that such scenarios would not take place for adecade, and tJ"lat we would not
     expect future Congresses to support such command and control alternatives as well.

             With this posture, we would be arguing that we are committed to reaching 1990 levels by
     20i5 or 2020 --but J)Ot at any cost. We would not expect future administrations or Congresses
     to allow the costs ·of complying with the treaty to become extreme or excessive. We would also
     note that the 5-year reviews would allow us to adjust our policy stance as more information
    .
     becomes available. Finally, it is important to note that we would still taking real steps to reduce
                        .

     emissions even if the safety valve is triggered. Indeed, the policy steps under this approach if the
     safety valve were triggered are equivalent to those proposed und~r Plan 3. Even with the cap, the
    ·cost to polluting would be higher than today, and thus we would divert emissions from the
     business-as-usual path. We would also start the emissions trading program by the relatively
     early date of2005, which shouldhelp to address some of the concerns environmental groups may
     have with this approach.

        PROS

        ..      Seeks to hit a middle ground -:- still proclaims a target and timetable, but only at
                reasonable economic cost. With a target of 1990 by 2015 or 2020 -:- tempered by the
               ·safety valve, but still stronger than our Rio comffiitment -- we w·ould have a chance of
        ·-      remaining "in the game' in the international and environmental communities. By
                limiting the economic costs, we could avoid undue disruption to the economy and stunt
                potential attacks.



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                                                                                                       P00000129359
•      Permit system starts in 2005, so that we begin to deflect from business-as-usual path
       within·a decade .. The early start date would also help utilities to integrate their planning
       for reductions ofNOX (under EPA's recent clean air rule) and carbon emis.sions.

•      Consistent with our language of "binding but realistic" and "reducing erilissions while
       we grow the economy."

•      Starting with only tax cuts and R&D for 7 years, and not beginning the permit system
       until 2005, may make it harder for the Administration to be demagogued on tax increases ..

CONS

•      Risks splitting the loaf and pleasing no one:

       -~ Business groups may still demagogue the plan, arguing for example that $20 per ton is.
       approximately the· same size as the BTU tax proposed in 1993. If we decide that the plan
       would be revenue-neutral, we could respond with that point, and note that it would not
       become effective for several years.

       ---Business groups could also charge that the combination of a relatively tight target and .
       timetable with a low trigger price would imply that command-and-control regulations
       would be used to fill the gap. We could respond by emphasizing our commitment to
       market-based solutions.

       -- Many environmental groups will oppose, arguing that the 2015 or 2020 date is too late
       and that the safety valve undermines our environmental commitment. We could respond
       that on their optimistic predictions about new technologies, the safety valve would not be
       needed. We could also respond that our policy is a politically reali~tic way of addressing
       the climate change problem. Some more moderate groups may support the package,
       GSpecially in light of the 2005 start for the permit system and if the package includes
       further reductions beyond 2015 or 2020. Although environmental groups         arecalling for
       reductions below 1990 levels by 2010, a relevant threshold for many of them is
       reductions below 1990 levels at least by 2020:

•      Mainstream models almost uniformly suggest that without woddwide international
       trading, there is little likelihood that we could avoid triggering the safety v3.lve at $30 per
       ton. Some of your advisers could be forced to admit that the overwhelming weight of
       conventional economic analysis suggests that the safety valve would be triggered.

•      Will seriously complicate international negotiations. In combination, the 2015 or 2020
       date, our domestic cost cap and our insistence that developing countries do more will be
       perceived as lack of U.S. leadership.

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                                             ·PACKAGE3 ·

OVERALL_ STRATEGY

•      This package is similar to Package 2 in containing a safety valve, but it involves steeper
       emissions reductions and higher economic costs than tinder Package 2. In this sense, it
       conforms mosfclosely to the first     two
                                               constraints noted in the first section above
       ( environme~tal and international).    It
                                              involves less dramatic reductions than those
       proposed by the EU or Japan, but has some chance of being accepted internationally.
       Despite provisions that cap the permit price at about $50 per ton, this package would
       likely be strongly opposed by much of the U.S .. business comrriunity. And as above, the
       cost cap comes with a real risk: it implies that we could fail to reduce emissions to 1990
       levels by 2010 or 2015.

TARGET AND TIMETABLE

•      1990 levels by 2010 with safety valve or 1990 levels by 2015 with safety valve .

•      Further reductions at a later date.

•       Th~ permit price would be capped at roughly $50 per ton by allowing the U.S.
      · Government to sell an unlimited number of additional permits at that price.

•      .Require adequate provisions for international emissions trading, joint implementation and
        brullcing.                                                                       ·

DEVELOPING COUNTRIES

•      Two-step approach as outlined above. ·Kyoto Mandate for negotiations, with a goal for
       them to be completed by 1999.

DOMESTIC IMPLEMENTATION

•      Domestic permit trading system, with a safety valve that ensures a ceiling of about $50
       on the permit price.
                                                                                       -
•      Common components plan. Emphasize tax cuts and R&D in near ten;n to build co.rporate
       support.·

SUPPORTERS,

Carol Browner, Secretary Babbitt, and Brian Atwood support the plan -- but only with the 1990
-by· 20 10 timetable.

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 Jim Steinberg supports this package, emphasizing the importance of a credible trigger price (one .
 set high enough that it could be defended as a reasonable estimate of the cost of meeting the
 target).

· Jack Gibbons supports this approach, but emphasizes the importance of a significant reduction in ·
  the 2020-2030 timefrarne linked to a long-term stabilization goal.

· Strohe Talbott supports this general approach. He could also be supportive of Plan 2. Secretary
  Glickrrian supports this package, but is also willing to support Plari 2.

 PROS

 •      Kyoto agreement perhaps possible {especially if 1990 by 201 0), although not guaranteed
        -- especially given the safety valve and our position with respect to developing countries.

•       Some support from environmental· groups (especially if 1990 by 201 0), although some
        will consider the emissions reductions to be too weak and the safety valve to be
        problematic.

•        Stronger start in addressing envirotml.ental problem limits need to depend on steep '-- and
       . argtiably implauSible.:..:.. emissions reductions in distant decades to reach environmental
         goals.

CONS

•       The commitment would be attacked as the largest energy tax hike in history -- costing
        $75 billion per year. Despite the safety valve, many would charge that a commitment of
        this nature-could have substantially adverse effects on the economy.·

•       Strong corporate opposition -- especially if 1990 by 2010 -- for not allowing enough time
        for the economy to adjust.

•       Relative to the $30 ceiling in Plan 2, this plan would produce greater economic
        dislocation and more pOWerful ammunition for opponents that want to attack the
        economic costs of the plan.

•       The ceiling poses many of the same tensions as in Plan 2. A $50 ceiling may prove
        inadequate to meet a target of1990 by 2010.




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                                   DRAFT #2: October 14, 1997

 MEMORANDUM FOR THE PRESIDENT

 FROM:·                .GENE SPERLING
                        KATHLEEN McGINTY.
                        DANIEL TARULLO
                        JIM STEINBERG
                        TODD STERN

 SUBJECT:               Climate change decision memorandum


         This memorandum follows up on our earlier climate change memoranda and meetings with
 you. It requests specific decisions from you on various elements of our overall climate change
 policy. Your responses will allow us to put together a climate change policy package that you
 could then announce in approximately a week, while the penultimate negotiations take place in . ·
 Bonn.                                                              ·

 I. Target, timetable, and safety valve

         The most difficult decision you must make involves the target and timetable, and
 whether to include a ceiling price as part of our proposal. ·We believe that you are well aware
 of the pros and cons of different courses of actions.

·· Beginning date for pennit system

         · Your ·advisers -- including Gene, Katie, and Todd -- generally support starting the
  permit system in 2005. The frrst few years of the permit system-- before any internationally
  binding obligation would take hold -- could involve auctioning or grandfathering enough
 .permits for the permit price to be relatively low. (If the ~ifference between the number of
  permits in a given year and the business-as-usual emissions level is.small enough, the permit
  price will remain low. The flipside of obtaining that low price, however, is that the deflection
  from business-,as-usual would have to start small.) As discussed below, we could also impose
· a ceiling price on the permit system for the first few years of its operation.

         The benefit of an early start is that it allows time for the system to become operational
 in the run-up to the internationally binding goal, and begins to deflect emissions from the
 business-as-usual path. The cost is that in order to affect emissions, it moves forward the time
 at which energy prices will rise from their business-as-usual path.                      ·

 - - ' - - - - - Approve starting the permit system in 2005




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